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                           UNITED STA TES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

  UNITED STATES OF AMERICA,                                     Hon. Stanley R. Chesler

                                         Plaintiff              Criminal No. 08-176

                                                                  ORDER
 KENNETH CAMPBELL,


                                         Defendant,
                 and

 THE GENERAL PENSION PLAN OF THE
 INTERNATIONAL UNION OF OPERATION
 ENGINEERS,
 and its successors or assigns,

                                         Garnishee.


         This matter having been opened to the Court by the Acting U.S. Attorney, Ralph J. Marra, Jr,

for the District of New Jersey. on behalf of plaintiff United States of America. and for good cause

shown.
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                           day                ,   2009

         ORDERED that the Application and Order for Writ of Garnishment in this matter is hereby

WITHDRAWN.


                                                                 .ANLEY R. CHESLER
                                                         Judge. U.S. District Court
